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7    Attorneys for Petitioners Fabien Ho Ching Ma, Laila Amlani,
     Jonathan Willis, Melissa Olson, Sasha Solomon,
8
     Ryan Crowley, Grae Kindel, Sarah Rosen, and
9    Adam Treitler, on behalf of themselves
     and all others similarly situated
10
                              UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12                               SAN FRANCISCO DIVISION

13
     FABIEN HO CHING MA, LAILA AMLANI,              Case No. 3:23-cv-3301-SK
14
     JONATHAN WILLIS, MELISSA OLSON,
15   SASHA SOLOMON, RYAN CROWLEY,                   PETITIONERS’ MOTION FOR AN
     GRAE KINDEL, SARAH ROSEN, and                  EARLIER HEARING DATE ON THEIR
16   ADAM TREITLER, on behalf of themselves         MOTION TO COMPEL ARBITRATION
     and all others similarly situated,             AND FOR PRELIMINARY INJUNCTION
17

18                          Petitioners,            Judge:    Magistrate Judge Sallie Kim

19                v.
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     TWITTER, INC. AND X CORP.,
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                             Respondents.
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         PETITIONERS’ MOTION FOR AN EARLIER HEARING DATE ON THEIR MOTION TO COMPEL
                        ARBITRATION AND FOR PRELIMINARY INJUNCTION
                Case 3:23-cv-03301-SK Document 8 Filed 08/31/23 Page 2 of 4



1           Petitioners hereby respectfully request, pursuant to Local Rule 6-3, that the hearing date
2    for their Motion to Compel Arbitration and for Preliminary Injunction be set earlier than thirty-
3    five (35) days. Petitioners filed their Petition to Compel Arbitration on July 3, 2023, and their
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     Amended Petition to Compel Arbitration, as well as their Motion to Compel Arbitration and for
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     Preliminary Injunction on August 30, 2023. Through this matter, Petitioners seek to compel
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     Respondents Twitter, Inc., and X Corp. (collectively “Twitter”) to arbitrate the claims of
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     Petitioners, and the claims of many hundreds of other former employees who Respondents have
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     refused to proceed with under the rules set forth by Judicial Arbitration and Mediation Services
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     (“JAMS”) and the American Arbitration Association (“AAA”) (the arbitration providers that
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     Twitter agreed to). Despite compelling its former employees to arbitrate their claims against the
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     company, Twitter has taken every opportunity to prevent many of them from actually pursuing
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     their claims in arbitration. Specifically, Twitter has engaged in the following tactics to avoid
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     arbitrating its former employees’ claims:
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            1) Twitter has refused to pay the full arbitration fees for employees who worked outside
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                California and several other states (including Nevada and Oregon), as it has been
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                ordered to do by both arbitration providers the parties have agreed to use.

18          2) Twitter has refused to participate in arbitration with employees who worked in a

19              number of states where JAMS does not have an office or arbitrators.

20          3) Twitter has also blocked arbitrations from proceeding that were brought by

21              employees who do not have their own copy of their signed arbitration agreement

22              (although Twitter obviously has them).
23          Under the FAA, a “party aggrieved by the alleged failure, neglect, or refusal of another to
24   arbitrate under a written agreement for arbitration may petition any United States district court . .
25   . for an order directing that such arbitration proceed in the manner provided for in such
26   agreement.” 9 U.S.C. § 4. The responding party must be given five days’ notice of any hearing
27   on such a petition to compel arbitration, after which the court should “summarily” decide the
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          PETITIONERS’ MOTION FOR AN EARLIER HEARING DATE ON THEIR MOTION TO COMPEL
                         ARBITRATION AND FOR PRELIMINARY INJUNCTION
                Case 3:23-cv-03301-SK Document 8 Filed 08/31/23 Page 3 of 4



1    matter. Id. Here, Petitioners recognize that Local Rule 7-2(a) for the Northern District of
2    California provides that a hearing on any motion must generally be scheduled at least thirty-five
3    (35) days after a motion is filed. October 9, 2023, which would be the first hearing date at least
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     thirty-five (35) days from the filing of Petitioner’s Motion is a court holiday. As such, the first
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     available hearing date is October 16, 2023. However, Petitioners’ lead counsel, Shannon Liss-
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     Riordan, begins a federal jury trial that day, which is scheduled to last at least one week.
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     Consequently, if the hearing date is not scheduled for an earlier date, Petitioners would need to
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     wait until November for the Court to decide their motion. Such a result would run counter to the
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     FAA’s requirement that a petition to compel arbitration be decided “summarily.”
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            Moreover, Petitioners, and Twitter’s other former employees would be prejudiced by
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     further delaying their arbitrations. In particular, Petitioner Fabien Ho Ching Ma has an
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     arbitration hearing scheduled to take place in December of this year. However, Twitter is
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     refusing to pay the arbitration fees for his case, preventing Petitioner Ma from proceeding with
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     his arbitration and preparing for his hearing by taking discovery.
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            As such, Petitioners ask the Court to schedule a hearing date before thirty-five (35) days
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     have elapsed. To that end, the Court previously scheduled a Case Management Conference in

18   this matter for October 2, 2023, at 1:30 pm., which is thirty-two (32) days from the date

19   Petitioners filed their Motion. 1 Petitioners request that the hearing on their Motion to Compel

20   Arbitration and for Preliminary Injunction be scheduled for the same time, or sooner in the

21   Court’s discretion.

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             Scheduling the hearing for October 2nd would not change Twitter’s response date to
     Petitioners’ Motion. Additionally, Petitioners would agree to file their Reply quicker, if needed.
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          PETITIONERS’ MOTION FOR AN EARLIER HEARING DATE ON THEIR MOTION TO COMPEL
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                 Case 3:23-cv-03301-SK Document 8 Filed 08/31/23 Page 4 of 4



1                                                  Respectfully submitted,
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3                                                  FABIEN HO CHING MA, LAILA AMLANI,
                                                   JONATHAN WILLIS, MELISSA OLSON,
4                                                  SASHA SOLOMON, RYAN CROWLEY, GRAE
                                                   KINDEL, SARAH ROSEN, and ADAM
5
                                                   TREITLER, on behalf of themselves and all others
6                                                  similarly situated,

7                                                  By their attorneys,

8                                                  /s/ Shannon Liss-Riordan
                                                   Shannon Liss-Riordan, SBN 310719
9
                                                   Bradley Manewith (pro hac vice forthcoming)
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12                                                 Email: sliss@llrlaw.com; bmanewith@llrlaw.com

13   Dated:          August 31, 2023
14
                                       CERTIFICATE OF SERVICE
15
              I, Shannon Liss-Riordan, hereby certify that a true and accurate copy of this document
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     will be served on Respondents Twitter, Inc. and X Corp. by process server today. A copy will
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     also be sent via electronic mail to Respondents’ counsel.
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                                                          /s/ Shannon Liss-Riordan
20                                                        Shannon Liss-Riordan

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          PETITIONERS’ MOTION FOR AN EARLIER HEARING DATE ON THEIR MOTION TO COMPEL
                         ARBITRATION AND FOR PRELIMINARY INJUNCTION
